 Case 20-50473            Doc 10       Filed 06/17/20 Entered 06/18/20 00:44:48                       Desc Imaged
                                      Certificate of Notice Page 1 of 3




    SIGNED THIS 15th day of June, 2020


    THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
    PLEASE SEE DOCKET FOR ENTRY DATE.




                                        UNITED STATES BANKRUPTCY COURT
                                      FOR THE WESTERN DISTRICT OF VIRGINIA

     IN RE: Gregory Scott Darlin                                         CHAPTER 7

                                                                         CASE #      20-50473

                                                          ORDE R

            The above-captioned matter is deficient in the following area(s):

            The petition was filed without the following required bankruptcy form(s). Official Forms specific for
            individuals or Official Forms for non-individuals (check appropriate form(s)).

                  Schedule A/B (Form 106A/B or 206A/B)
                  Schedule C (Form 106C)
                  Schedule D (Form 106D or 206D)
                  Schedule E/F (Form 106E/F or 206E/F)
                  Schedule G (Form 106G or 206G)
                  Schedule H (Form 106H or 206H)
                  Schedule I (Form 106I)
                  Schedule J (Form 106J)
                  Schedule J-2 (Form 106J-2)
                  A Summary of Your Assets and Liabilities and Certain Statistical Information (Form 106Sum or
                  Form 206Sum)
                  Declaration About an Individual Debtor's Schedules/Declaration Under Penalty of Perjury for
                  Non-Individual Debtors (Form 106Dec or 202)
                  Statement of Financial Affairs (Form 107 or 207)
                  Disclosure of Compensation of Attorneys for Debtors


      ✔     Page 8 of the petition (Form 101) has not been completed.


            The petition was filed without the Statement of Current Monthly Income (Form 122A-1 or 122C-1)



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           The Chapter 13 petition was filed without a Chapter 13 Plan

           The petition was filed without a certification that he/she has received an approved credit counseling briefing
           in the 180 day period ending on the date of filing of the petition or a certification of exigent circumstances.


            It is accordingly


                                                            ORDERED

     that failure to cure said deficiency(ies) within fourteen (14) days from the date RIWKLVRUGHU or to file a pleading within
     such time requesting a hearing upon such asserted deficiency(ies), this case may be dismissed without further notice or
     hearing.

     Service of a copy of this Order shall be made to debtor(s) and counsel for debtor(s); trustee; and other parties
     as may be appropriate.


                                                     **END OF ORDER**




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                                               United States Bankruptcy Court
                                               Western District of Virginia
In re:                                                                                                     Case No. 20-50473-rbc
Gregory Scott Darlin                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0423-5                  User: admin                        Page 1 of 1                          Date Rcvd: Jun 15, 2020
                                      Form ID: pdf003                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 17, 2020.
db             +Gregory Scott Darlin,   112 Sunset Circle,   Cross Junction, VA 22625-2458

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 17, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 15, 2020 at the address(es) listed below:
              Bob Stevens (384920)    trustee@scslawfirm.com, VA37@ecfcbis.com
              USTrustee   USTPRegion04.RN.ECF@usdoj.gov
                                                                                            TOTAL: 2
